           Case 1:14-mc-00008-KD-MU Document 81 Filed 09/09/14 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COT'RT F'OR THE
                          SOUTHERN DISTRICT OF' ALABAMA                                                    TI
                                SOUTHERN DIVISION                                                          tr
                                                                                                           t3
                                                                                                           rfj
                                                                                                           m
sE PROPERTY HOLDINGS,            LLC'                )                                                     TJ
       Plaintiff,                                    )
                                                                                                           r.-A


                                                     )                                                     ..tr-
v.                                                   )                 MISC. ACTION 14-8-KD-M
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                                                     )                                                     ru
UNIFIED RECOVERY GROUP, LLC,et.               al.,   )
                                                                                                           UJ
                                                                                                            6
       Defendants,                                   )
                                                                                                            E'
                                                                                                            El
                                                                                                            r{Ja
                                                     )
v.)
                                                     )
LANGFORD TREE SERVICE,LLC, )
       Garnishee.          )                                                                     l"+j
                                                                                                 I.,[J

                                  GARIIISIIEE'S          ANSWER                                  :I;
                                                                                                 t;rc

      Now, on this day comes LANGF ORD TREE SERYICE, LLC, Gamishee in the abovexiivled
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action, and for answer to the writ of Garnishment served upon LANGF ORI) TREE       SERVICEII,LC
                                                                                                 "r'd
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onthe-|         arv                                  oat}q say that:
                                                                                                 :;l
                   "r &/J"/,2014,upon
                                                                                                 r,._t..




       1.      LANGFORD TREE SERVICE ,LLC                ry,,6N?
                                                          \.--.--/     indebted to Defendants Unified

               Recovery Group,LLC,IED, LLC, Intei:rational Equipment Distributors, Ioc., Green and

               sons II, LLC, catahoulaTrading company, LLC, Memory c. Green, cecile G. Green,

               Jeff S. Green and/or J.S. Lawrerrce Green, at the time of service of the writ of

               Garnishment in the above stated cause, or at the time of making answer hereto; and that

      2.       LANGFORD TREE sERvrcE,             LLC vflt.j.q6a-tNoTJ         indebted to Defendants

               Unified Recovery Group, LLC,IED, TLC, IntematiEdl-EquipmentDistributors,Inc.,

               Green and Sons tr, LLC, Catahoula Trading Comp any,LLC,Memory C. Green, Cecile

               G. Green, JeffS. Green and/or J.S. Lawrence Green, af the time of service ofthe   writ of

               Garnishment in the above stated causg or at the time ofmaking answer hereto; and that
          Case 1:14-mc-00008-KD-MU Document 81 Filed 09/09/14 Page 2 of 2



         3.     LANGFoRD TREE SERvICE                ,LLC"orr6o"G            initspossession, orunder

                control, personal orreal property, or things io   u"ilrclonging   to Defendants Unified

               RecoveryGroup, LLC, IED, LLC, Intemational EquipmentDistributors, Inc., Green and

                sons II, LLC, catahoulaTrading company, LLC, Memory c. Green, cecile G. Green,

               IeffS.   Green and/or J.S. Lawrence Green.

         4.    Other @xpiain)_C



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                                                                                         OUT

costs in this behalf expended.




                                                              Print naure of signatory

                                                              a-l z/7'coq I
                                                              Telephone number of signatory

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My Commission    Expires,-!i._|lgI-l

RETURN THIS AI\SWERTO:

Charles R Diard, Jr., Clerk
United States District Court
113 St. JosephStreet
Mobilg N-36602
